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IN THE UNITED STATES DISTRICT COURT 05,_/0[2 \Z
FoR THE WESTERN DISTRICT oF TENNESSEE 39 pa 4 C

 

EASTERN DIVISION j, n 32
JOHNNY MARVIN HENNING § pizzng
Petitioner, ll
ll
VS. §§ No. 05-1022-T/An
ll
TONY PARKER, §
ll
Respondent. §

 

ORDER GRANTING MOTION FOR EXTENSION OF TIME

 

On May 20, 2005, petitioner Johnny Marvin Henning filed a notice of change of address
On June l, 2005, he filed a motion for an additional thirty days in Which to respond to the
respondent’s motion to dismiss That motion Was granted on June 9, 2005. I-Iowever, petitoner’s
change of address inadvertently Was not entered properly into the Court’s computer docketing system
and the order Was sent to petitioner’S old address He did not receive it until June 27, 2005.
Consequently, petitioner has moved for an additional extension of time to respond to the motion to
dismiss

Petitioner’s motion for an extension of time is GRANTED. Petitioner is allowed an
additional twenty (20) days after the entry of this order in which to file his response to the pending
motion to dismiss

IT IS SO ORDERED.
Qa/W s M/

S D. TODD
UN ED STATES DISTRlCT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case l:05-CV-01022 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Johri H. Bledsoe

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202

Johriny Marviri Henriirig
CBCX Ariiiex

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7466 Ceritenriial Blvd. EXt.
Nashville, TN 37209--101

Honorable J ames Todd
US DISTRICT COURT

